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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division



  UNITED STATES OF AMERICA,

                               Plaintiff,

         v.                                                    Case No. 1:18-mj-00196-TCB

  GEORGE A. NADER,

                               Defendant.


 MOTION FOR DEFENDANT TO HAVE ACCESS TO HIS LEGAL DEFENSE TEAM

       Defendant George Aref Nader, by and through the undersigned, respectfully requests that

the Court instruct the United States Marshals Service to permit Mr. Nader to meet with counsel of

choice in the Alexandria Detention Center, where he is presently in pretrial detention. Counsel

has been encouraged by the United States Marshals Service and the United States Attorney’s

Office for the Eastern District of Virginia to seek this requested relief from the Court after first

seeking it from the Marshals Service and the United States Attorney’s Office.

       A.      Discussions with the United States Marshals Service and the United States
               Attorney’s Office for the Eastern District of Virginia

       Counsel for Mr. Nader has engaged in cordial and productive conversations with the United

States Marshals regarding this issue and is grateful for its efforts to ensure Mr. Nader’s security.

Our understanding, based on those conversations, is that Mr. Nader’s case has been deemed a

“high profile” case by the Marshals Service, which the US Marshals Service has informed us

means that the only individuals who are allowed to visit Mr. Nader in the Alexandria Detention

Center must be on a preapproved list transmitted from the United States Marshals Service to the
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Alexandria Detention Center. In “high profile” cases, the Marshals Service adheres to a strict

protocol of allowing only counsel of record and certain other pre-approved attorneys into the

Alexandria Detention Center.

       Importantly, the Marshals Service kindly informed counsel that—while the Marshals

Service cannot make exceptions to protocol, to the exclusion of potential experts and consultants

(as well as other attorneys on Mr. Nader’s legal defense team)—the Marshals Service will agree

to take direction from the Court on this issue. Counsel for the Government informed us that the

Government will defer to the Court on this issue.

       Counsel appreciates and respects the importance of security protocols and has collaborated

well with the Marshals Service on the best ways to abide by those protocols, while at the same

time attempting to protect and vindicate Mr. Nader’s Sixth Amendment right to counsel. In

collaborating with the Marshals Service and requesting additions to the list so that Mr. Nader can

meet and confer with his counsel of choice on his defense strategy (which carries a fifteen-year

mandatory minimum sentence), the Marshals Service has noted that it cannot allow access to a

notary public who has needed to bear witness to Mr. Nader’s signature of a power-of-attorney

document and indicated that only attorneys will be permitted to visit Mr. Nader, to the exclusion

of consultants, expert witnesses, or anyone on his defense team without a bar card. And, to clarify,

counsel does not seek to have all of the individuals on the list simultaneously visit Mr. Nader at

the Detention Center.

       B.      The Requested Relief

       In view of the foregoing, undersigned counsel respectfully asks that the Court permit Mr.

Nader to have access to confer with all members of his legal defense team, which consists of:

(i) attorneys and other professionals employed by the law firms of Latham & Watkins LLP and
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KaiserDillon PLLC; and (ii) experts and consultants engaged by Mr. Nader’s counsel in

connection with Mr. Nader’s legal defense (collectively, the “Legal Defense Team”). Defense

counsel proposes to submit to the United States Marshals Service a list of the individuals who

comprise the Legal Defense Team, who would be authorized to meet with Mr. Nader at the

Alexandria Detention Center.

        To be sure, counsel has appreciated the professionalism and courteousness of the Marshals

Service. Although counsel and the Marshals Service disagree about whether Mr. Nader should

have access to his full defense team rather than only counsel of record, this disagreement is

procedural and not acrimonious in any way. The Marshals Service has simply informed counsel

that it has a protocol and politely encouraged it to seek from the Court the relief that Mr. Nader

now requests. This will allow for the orderly administration of individuals who have access to Mr.

Nader while ensuring Mr. Nader’s Sixth Amendment right to counsel. Counsel does not anticipate

needing to amend this list more than a handful of times so the burden on the Marshals Service will

be minimal, and—for purposes of legal defense and strategy—no one is better-positioned to know

who should and should not have access to Mr. Nader than his chosen counsel.

       Furthermore, to the extent the Marshals Service has a security concern with any individual

on the list, counsel requests that the Marshals Service raise such concern with counsel within 24

hours of receiving the list, at which point counsel and the Marshals Service will continue to

collaborate about reconciling security concerns with Mr. Nader’s Sixth Amendment right to

counsel. A proposed order is attached to this motion that clearly states the requested relief.
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Dated: June 18, 2019              Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of June, 2019, I will electronically file the foregoing
with the Clerk of Court using the CM/ECF system, which will then send a notification of such
filing (NEF) to the following:

Jay Prabhu
Laura Fong
Assistant United States Attorney
Justin W. Williams United States Attorney’s Building
2100 Jamieson Avenue
Alexandria, VA 22314



                                              /s/ Clayton D. LaForge
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